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                  DISTRICT COURT OF THE VIRGIN ISLANDS
                   DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
                   v.                  )     Criminal No. 2013-22
                                       )
RAYMOND BROWN,                         )
                                       )
                   Defendant.          )
                                       )

ATTORNEYS:

Ronald Sharpe, United States Attorney
Kelly B. Lake, AUSA
St. Thomas, U.S.V.I.
Kim Lindquist, AUSA
St. Thomas, U.S.V.I.
     For the plaintiff,

Arturo R. Watlington, Jr.
Law Offices of Arturo Watlington
St. Thomas, U.S.V.I.
     For the defendant Raymond Brown,


                                    ORDER


      Before the Court is Attorney Arturo Watlington’s motion to

withdraw as counsel for defendant Raymond Brown.

      This order is written primarily for the parties, and thus

assumes familiarity with the facts underlying this motion. On

February 10, 2014, the Court held a hearing on the instant

motion.      At the hearing, the Court inquired as to the bases for

the instant motion.     Attorney Watlington indicated that he
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believed there was a conflict which ran afoul of Model Rule of

Professional Conduct 1.7.

     Thereafter, the Court referred this motion to Magistrate

Judge Ruth Miller for a Report and Recommendation.            The

Magistrate Judge found she could not conclude based on the

record that there was a significant risk that the representation

of any of Attorney Watlington’s clients would be materially

limited by his representation of Raymond Brown in this case.

The Magistrate also indicated that she saw nothing to indicate

that there was direct adversity between Raymond Brown and any

other client.

     The Court has undertaken a de novo review of the record,

and must agree with the Magistrate Judge’s conclusions.

     The premises considered, it is hereby

     ORDERED that the Magistrate Judge’s Report and

Recommendation is ADOPTED; and it is further

     ORDERED that the motion to withdraw is DENIED.


                                                    S\
                                                         CURTIS V. GÓMEZ
                                                         District Judge
